                       UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF TENNESSEE
                                 At Nashville


UNITED STATES OF AMERICA,                |
                                         |       3:11-00012
                     PLAINTIFF           |       SENIOR JUDGE WISEMAN
                                         |
V.                                       |
                                         |
CHRIS YOUNG,                             |
                                         |
                     DEFENDANT           |



                         MOTION TO CONTINUE TRIAL DATE

               The Defendant, Chris Young, by and through appointed counsel, Hallie H.

McFadden, hereby respectfully requests this Court continue Mr. Young’s current trial

date of September 25, 2012 to a later date which is convenient to the Court and

counsel. In support for the motion, Mr. Young would show the following:

               The undersigned was appointed on February 28, 2012, after previous

counsel moved to withdraw due to health issues. Counsel has had approximately six

months to investigate and prepare for trial in this matter, where the Government has

had approximately six years to do so.

               This Honorable Court has declared this matter to be a complex and

extended mega-case, and is aware that the discovery is quite voluminous and the filings

number over 1100 to date. Mr. Young has moved this Court once to extend the motion

and plea deadline, as well as the trial deadline. That motion was granted as to the

motion deadline but overruled as to the trial deadline. The trial deadline, however, was




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moved as a result of calendar conflicts of so many attorneys. The current trial date is

September 25, 2012.

               The Government has filed an Information alleging prior felony drug

convictions pursuant to 21 USC §851, alleging two prior drug convictions, exposing Mr.

Young to a mandatory life sentence if convicted. The Government has also indicated its

intent to file a superseding indictment against Mr. Young alleging additional offenses

against him.     Because Mr. Young has been charged in a conspiracy, counsel has

expended numerous hours reviewing and investigating the massive amount of

information relating to the alleged co-conspirators, as well as investigating possible

defenses for Mr. Young.

               Mr. Young will renew his Motion to Sever immediately following this

motion, so a continuance for Mr. Young will not necessarily impact other Defendants.

               Additionally, the current trial date, September 25, 2012, is the start of the

high Jewish holiday of Yom Kippur, one of two high holidays on the Jewish calendar,

the first of which is observed approximately 10 days prior to September 25, 2012.

Counsel is observant of these holidays and preparing for and attending trial on these

days would cause a great hardship on counsel and also potentially preclude counsel for

final trial preparation, thus potentially negatively affecting Mr. Young’s representation.

Further, as the Court is aware, Counsel has a college trip with her child, which had been

planned and paid for, and the reservations involve non-refundable fees, on October 6,

2012 – October 14, 2012.

               For the Court’s scheduling purposes, Counsel would notify the Court of

the potential scheduling conflicts:




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                October 6-14 – pre-planned and pre-paid travel with child for college visits;

                United States v. Ahmed, et. al., Criminal Case No. 3:11-cr-132, which,

while not yet set, is anticipated to be set for trial early in 2013.

                Counsel for Mr. Young has discussed this motion with counsel for the

Government, and there is no objection to continuing the trial date in this matter.

Counsel for Mr. Young submits that the ends of justice served by granting this

continuance outweigh the interest of Mr. Young and the public in a speedy trial. 18

U.S.C. §3161(h)(8)(A).

                For all the above reasons, Counsel for Mr. Young requests that the trial

date be continued to a date convenient for the Court and counsel.

                                                      Respectfully submitted,

                                                      LAW OFFICES OF
                                                      HALLIE H. McFADDEN, P.C.

                                                      By:     s/Hallie H. McFadden
                                                              Hallie H. McFadden,BPR #17185
                                                              Attorneys for Defendant
                                                              P.O. Box 546
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                                                              TEL: (423) 362-1818



                                     CERTIFICATE OF SERVICE
        I, the undersigned, hereby certify that on August 27, 2012, a copy of the foregoing was filed
electronically, or if not registered, sent via served by regular U.S. Mail, postage prepaid to:

Sunny M. Koshy
Assistant United States Attorney
110 Ninth Avenue South
Suite A961
Nashville, TN 37203-3870


                                      /s/ Hallie H. McFadden




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